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0 R' GlNAL                ARTURI, D'ARGENIO, GUAGLARDI & MELITI, L.L.P.
                                             Counselors at Law
                                        A Limited Liability Partnership
   BARRY S. GUAGLARDl                             MACK CENTRE I                         JASON S. NUNNERMACKER •
   ANTHONY X. ARTURI, JR -o-            365 WEST PASSAIC STREET, SUITE 130              FRANCES OLIVERI A
   MICHAEL P. MELITI.t.                      ROCHELLE PARK. NJ 07662                    KRISTEN E. SCHREIB A
                                                   201-947-4100                         EVAN A. OSTRER .t.
   OF COUNSEL:                                FACSIMILE: 201-947-1010                   MYLES M. MISSIRIAN
                                              FACSIMILE: 201-843-5302
   ANTHONY X. ARTURI                                                                    A. NY&NJBAR
   RINALDO M. D'ARGENIO .t.                                                             oO-   NY,NJit.PABAR
                                                 I I I MAIN STREET                      +     NJ&IUDAR
                                                     P.O.BOX509
   WEBSITE: WWW APGMLAW COM                     CHESTER. NY 10918
                                                      845-576..0600
                                              FACSIMILE: 845·576..0601                              .
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                                                                         June 19,2017         DOClJMENT
   VIAE-FILE                   /                                                              ELECTRONICALLY FILED
   Honorable Louis Stttfion, U.S.D.J.                                                         DOC#: · ·               ...... .
   U.S. District Court ofNew York                                                             DATE FILED:·.: £f;r;> f/;). ·.·
   United States Courthouse
   500 Pearl Street,
                                          MEMO ENDORSED
   New York, NY 10007

   Re:      Michael Dardashtian, et al. v. David Gitman, et al.
            17-cv-4327

   Dear Judge Stanton:

          Kindly be advised that the undersigned firm represents the Plaintiffs, Michael
   Dardashtian ("Plaintiff Dardashtian"), individually and on behalf of Cooper Square Ventures,
   LLC ("CSV"), NDAP, LLC ("NDAP") and ChannelReply, LLC ("Plaintiff Companies") in
   connection with the above-referenced matter. I write in connection with Plaintiff's Order to
   Show Cause, which was filed via ECF on Friday, June 16, 2017.

           In connection with Plaintiffs Order to Show Cause, approximately four (4) exhibits were                      t~-\.. ~
   inadvertently scanned in to ECF incorrectly, namely Exhibits C, D, I and L. To avoid confusio
   and to address this infirmity, I write to respectfully request the Court's permission to resubmi1.. "-. :.\ (_. '
   the foregoing exhibits via ECF, which will also be served via electronic mail and hard copy to    ~ t........
                                                                                                       ~~--,-. -·
   counsel today.


   ECF.
            Annexed hereto are the exhibits in the manner in which it should have been scanned in to                      ,_,,,,),
          I apologize for any inconvenience this may serve. Thank you for Your Honor's
   consideration of the foregoing.

                                         Respectfully Submitted,
                          ARTURI, D' ARGE~~I & MELITI, LLP


                                           Evan A. Ostrer, Esq.

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Enclosures
Cc:    Lindsay Ditlow, Esq. (via ECF)
       Brian Cousin, Esq. (via ECF)
       Edward P. Gilbert, Esq. (via ECF)




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Case 1:17-cv-04327-LLS-RWL
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  EXHIBIT C
                                  Case 1:17-cv-04327-LLS-RWL Document 24 Filed 06/19/17 Page 4 of 16


    Bank of America 4'~
                    ~""-"                                                                                         Transaction
   BANK OF AMERICA, N.A. (THE "BANK")                                                                              History

   COOPER SQUARE VENTURES.LLC                                                    BUSINESS AOVAtflAGE CHK

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   Since Last Stltcmcnt Summary
   LaS\ Statement Dale 05131/2017                                                                                                                                          ~
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   Bala11C4 Last Statement ($}                                                      -562..11
   OeposltSICredlls (+)               #   35                                     $99,109.43 Holds(·)
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   Available Balance ($}  -                                                $71,073.30                                                                                      r
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   Balance Last Slalemenl, Oepo~~Gredils, Withd~walsiO~Its may:JlOJioleltot,~e~able_B~Iiln~,__

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                    Oescrietlon                                                                                          Tx(!e       Amount      Available Balance        0
                    Amoun\ Included In Available Balance                                                                                                                  (")
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    Processing ACH HOLO JPMorgan Chase Au\h Deb\\ ON 06113                                                            Debit            •$0.57          $71.073.30
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~ Processing        WIRE TRANSFER HOLD ON 06/13 FOR WIRE fi(JOG'\3317654                                               Oeb\\     -$5,060.00            $71,073.87
                                                                                                                                                                          (j)


                                                                                                                                                                          I1
    Prooesslng CHECKCARD UpWORKESCROW"BAL· 0018888503375 CA ON 06/'12                                                  Oeblt          -$310.98          $76,133.87        ro
                                                                                                                                                                          a.
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    Processing CHECKCARO UPWORKESCROW'BAL- 0018888503375 CA ON 06112                                                   Oebi\           -$13.36          $76,444.85    .·-··~
                                                                                                                                                                          p
                                                                                                                                                                       ·-·~
     Processing ACH CREDIT JPMorgan Chase Auth Crdl ON 06/~3                                                                                                             p
                                                                                                                        CA!dll           $0.28           $76,458.2\      ....J

     Processing ACH CREDIT JPMotgan Chase Au\h Crdl ON 06/13                                                                                                             '1J
                                                                                                                        Credit            $0.29          $76,457.93
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       For addUionallnformatlon or seNioe, please conlad tho Cualomer Sorvlco Canter at 1-800-43'l~1 000
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                                 Case 1:17-cv-04327-LLS-RWL Document 24 Filed 06/19/17 Page 5 of 16


                                                                                                                                    Type              Amount Available Balance
    Oate       Oescr!Jllion                                                                                                      Credit                $143.63      $76~4S7.64
    processing ACH CREDIT PAVPAL TRANSFER ON 06/13

                                                                                                                                 Creclll                $220.38          $76,314.01
    Processing    ACH CREDIT PAVPAL TRANSFER ON 06/13

                                                                                                                                 Credit               $5,373.00           $76,093.63               ()
    Processing WIRE TRANSFER CREDIT ON 06/13                                                                                                                                                       s:u
                                                                                                                                                                                                   (/)
                                                                                                                                                                                                   Cl)
                                                                                                                                                      $68,669.53          $70,720.63
~    Processing WIRE TRANSFER CREDIT ON 06113
                                                                                                                                 Credit                                                            ~
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                                                                                                                                                         $520.65            $2,051.10             '
     06112/2017 PAYPAl      DES:TRANSFER ID:56VJ2A6BGEGPW INON:CODPER SQUARE VENTURES CO
                                                                                                                                  Deposit
                                                                                                                                                                                                    ~
                ID:PAYPALSD11 f'PD                                                                                                                                                                '
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                                                                                                                                                         $710.12            $1,530.45               ~
                                                                                                                                  Deposit                                                          /W
     0611212017 PAYPAl      DES:TRANSFER 10:56YJ2A6A2VMAC INON:COOPER SQUARE VENTURES CO                                                                                                            N
                ID:PAYPALSD11 PPD                                                                                                                                                                   .......
                                                                                                                                  Deposit                $270.84               $820.33              r'
     0610912017 PAYPAL      DES:TRANSFER IO:SSYJ2A6939SF2 INDN:CODPER SQUARE VENTURES CO                                                                                                            r
                ID:PAVPALSD11 PPD                                                                                                                                                                   U>
                                                                                                                                   Deposit                $199.79              $549.49
      0610812017 PAVPAL      DES:TRANSFER ID:56VJ2A67XCRFJ INON:COOPER SQUARE VENTURES CO                                                                                                           0
                                                                                                                                                                                                    0
                 ID:PAYPALS011 PPO                                                                                                                                                                  (')

                                                                                       llBS-8503375 CA 24436547158008905752033     Debit                 -$148.47              $349.70              c
      06/0712017 CHECKCARD 0605 UPWORKESCROW"BAL-04JUN                                                                                                                                              3

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                 CKCD 5968 4135744507477134                                                                                                                                                         Cl)
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                                                                                                                                   Deposit                $229.22.              $498.17
       06/0712017 PAVPAL      DES:TRANSFER 10:55¥J2A66QM7SG INDN:COOPER SQUARE VENTURES CO                                                                                                          I -"
                  ID:PAYPALS011 PPD                                                                                                                                                                 m
                                                                                                                                    Deposit                5346.11              $268.95
       0610612.017 PAYPAL      DES:TRANSFER ID:5SVJ2A65JRHQE INDN:COOPER SQUARE VENTURES CO                                                                                                         I!
                   ID:PAYPALSD11 PPD                                                                                                                                                                ro
                                                                                                                                                                                                    a.
                                                                                                                                     Deposit               $124..23              -$77.16
       0610512017 PAYPAL      DES:TRANSFER 10:56VJ2AG2VCRGU INDN:COOPERSQUAREVENTURES CO                                                                                                             0
                  ID:PAYPALSD11 PPD                                                                                                                                                           ... ,~
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           06/05/2017 PAYPAL      DES:TRANSFER ID:56YJ2A64NEXPC INON:COOPER SQUARE VENTURES CO
                      ID:PAYPALSD11 PPD
                                                                                                                                     Deposit               $296.84               -$201.39
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                                                                                     ELECTRONIC TRANSACTION                          Fee                    -$35.00              -$498.23
           0610112017 OVERDRAFT ITEM FEE FOR ACTIVITY OF 06-01                                                                                                                                       iJ
                      POSTING DATE 06..()1-17 POST••:
                                                                                                                                                                                                    ~
                                        DES:lEASE PMT ID:33030003875 INDN:DAROASHTIAN, MICHAEl CO ID:2.650088516                      Other Payment         -$448.89             ..$463.23          Cl)
           06101/2017 VCFS                                                                                                                                                                           (J'1
                      PPO
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            For addlllonallnformatlon or setvlca, please contact the Customer Service center at 1-800-432·1000                                                      ..... ····7345                   m
            •=   ltem(s) Included In Previous Statement(s).
                     NNV                                                                                                                                                     Page 2
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                                                                                                                                                              AVailable Ba~
   Date          Description __ .                                                                                                  Type          Amount                  ...$14.34
   06/01/2017 PAYPAl      bES:TRANSFER 10:5SYJ2A5YJ4SK4 INDN:COOPERSQUAREVENTllRES CO                                           Oeposlt            $47.77
              ID:?AYPAlS011 PPO
                                                                                                                                                   -$35.00               -$62.11
   05/31/2.017 OVERDRAFT ITEM FEE FOR ACTIVITY OF 05·31                       ElECTRONIC TRANSACTION                            Fee
               POSTING DATE 05-31-17 POST...

   05131/2017 8MWFINANCIAL SVS DES:BMWFS PYMT 10:214157981                                                                      Other Payment    -$528.57                -$21'.11
                                                                                     INDN:Oavld Gilmao4001858507 CO                                                                              ()
              ID:12225689n PPO                                                                                                                                                                   ~
                                                                                                                                                                                                 (J)
   05131/2017 CHECKCARD 0529 UPWORKESCROW'BAL-28MAY                                  888-8503375 CA 24436547151008890782125     Debit             -$218.51               $501.46
                                                                                                                                                                                               ,_.m
              CKCO 5968 4135744507477134
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   0513112017 PAYP/>J..   DES:TRANSFER 10:5SYJ2A5XEH68E INON:COOPER SQUARE VENTURES                                        CO   Deposit             $76.01               $719.97               --..J
                                                                                                                                                                                                I
              IO:PAYPALS011 PPD
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   05130/2017 CHECKCARD OS28Al\.ASSIAN                                ATLASSIAN B.V 745470671-19061146127509                    Fee                 -$0.33               $643.96       . ··-o
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                 CKCD 5734 41357445074n134 •••
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   05/30/2017 PAYPI>J...  DES:ECHECK                  IO:J22222ARBWBSC INDN:COOPER SQUARE VENTURES CO                           Other Payment      -$77.50               $644.29                 I

              ID:PAYPALEC88 WEB                                                                                                                                                             r-
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   05/30/2017 CHECKCARO 0528 ATlASSIAN                                ATLASSIAN B.V 745470671490611116127509CKCD 5734            Debit             -$10.89               $721.79
                  4135744507477134
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~05/3012017       PA TLR transfer to CHK 5141
                  Confirraafion#0189542525
                                                                 Banking Ctr NORTHWOOD                      ft0094043 PA        Transfer        -$23.982.53                  $732.68
                                                                                                                                                                                           0
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 ~05130/2017      PA TLR transfer to CHK 5141                    Banldog Ctr NORTHWOOD                      #0094M3PA           Transfer        -$50,000.00          $24,715.21           m
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                  ConllrmaUonf# 2589533902

    05130/2017 PAYPI>J...      DES:TRANSFER ID:56YJ2A.SUY7J66 INON:COOPERSQlJAREVENTURES CO                                      Deposit             $82.39           $'74,715.21         0>
                  ID:PAYPAI.SD11 PPO
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    05/30/2017 PAYPAL      DES:TRANSFER ID:56YJ2A5VNPYCC INON:COOPERSOUAREVENTURES CO
               IO:PAYPALSD11 PPD
                                                                                                                                 Deposit            $124.23           $74,632.82         or
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    05/3012017 PAYPAL      DES:TRANSFER 10:56YJ:?A5TWZHHQ INDN:COOPERSQUAREVENTURES CO                                           Deposit            $124.23            $74,508.59
               IO:PAYPALS011 PPO                                                                                                                                                         ~
    05/3012017 PAYPAL      OES:TRANSFER 10:56YJ2A5WFM786 INON:COOPER SQUARE VENTURES CO                                          Deposit
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                                                                                                                                                    $526.06            $74,384.36        --..J
               JO:PAYPALS011 PPO                            '

    0512612017 PAYPAL      OES:TRANSFER I0:56YJ2A5SSSZKC INDN:COOPER SQUARE VENTURES CO
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                                                                                                                                                    $220.38            $73,858.30
               IO:PAYPALSD11 PPD
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      For addHional Information or seNice, pteese contact the CUstomer SeNiccl Contar et 1-80().432·1 000
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                                                                            i




Bank of America . .

06/05/17

RE: Requested Information
Name: Michael Dardashitian
RE: Cooper Square Ventures, LLC



To VVhom it May Concern
This letter is confirm that for business account xxxxxxxx7S46 at Bank of America for Cooper Square Ventures,
LLC there were two Teller Tranfers completed at the Financial Center in Easton, PA. The first one was for
60,000.00 and the second one for 25982.58. Both of these transfers wet·e sent to account xxxxxxxx5H•l and
both posted on 05/S0/2017.                                                                     ·

Best Regards,

Small Business
Customer Service
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                                                                       06ta9/17     Page
                                                                                 Page 9 of 916of 16
6/1312017                                             \     .llap Mall -Your Same Day win: uansrcr was succcssrully,      ;



                                                                                                                       Mike Dash <mdash@ndap-llc.com>



  Your Same Day wire transfer was successfully sent
 'Online Transfers from Bank of America' via Partners <partners@ndap-llc.com>               Tue, Jun 13,2017at 2:41PM
 Reply-To: Online Transfers from Bank of America <bankofamerlcatransfers@mail.transfers.bankofamerlca.com>
 To: partners@ndap-llc.com

    We have successfully sent the following transfer:


    Item#:     203612044
    Amount:      $5,060.00
    To:      Dalva Ventures
    Fee:      30.00
    Send on Date: 06/13/2017
    .....................................................
    Service:    Same Day


    If there is a problem with executing your request, we wlll notify you both by email and on the Manage Accounts tab. You
    can always check your transfer status on the Review Transfer screen at www.bankofamerlca.com.

    Sincerely,

    Member Service

    www.bankofamerica.com




    This is a service email from Bank of America. Please note that you may receive service emails
    In accordance with your Bank of America service agreements, whether or not you elect to receive
    promotional email.

    Read our privacy policy: http:f/www.bankofamerica.com/privacy

    Please don't reply directly to this automatically-generated email message.

    Bank of America Email, 8th Floor-NC1-002-08-25, 101 South Tryon St., Charlotte, NC 28255-0001

    Bank of America, N.A. Member FDIC. Equal Housing Lender:

    http:l/www.bankofamerica.com/help/equalhousing.cfm

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    This email was .sent to: partners@ndap-llc.com




hUps://mail.gooJic.comlmaiUu/21?ui=2&il;::cc55727cl~&vicw=pt&msg=1.5ca2c2br.3bbcd42&scarcb=inbox&siml=l5ca2c2br.3bbcd42                             Ill
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                                                Representative Clients

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    David Gitman                                                                                                                                        ~   @ [})   Q ,. ,, ..
    ·:~:     ·.:~   ,'\\•..-;·;   n.w   ·~

      ~ Konstantyn Bagaiev
     0  Ok
      -~ Konstantyn Bagaiev
     e   Mike calling. I declined                                                                                                                                                ()
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     i:               David Gltman ,. ,., ,. · ·                                                                                                                                 (/)
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                      That's a good idea.                                                                                                                                        .....
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      e~
                       Konstantyn Bagaiev ·• ·.·, ,....
                       He wants to chat
                                                                                                                                                                                 ""~
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           a:.
           Ja\
                       David Gltm:m :o: "·~' ~::-.:
                       I strongly recommend blocking him.
                       David Gitman !<: .;,. '':.·
                       I'm reading the docs now.
                       I don't get how he knows all these details.
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      II               Konstantyn Bagaiev
                       I speak with him
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           .Qii David Gitman w 111 :>1.1                                                                                                                                         3

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      ..i&i             It's okay.                                                                                                                                               CD
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      ~ Konstantyn Bagaiev
      a                                                   If:. ::i v~.,
                        Maybe I misshcard something but he h;~s some "scrcenshots"
                                                                                                                                                                                 .a>
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       ~! David Gitrnan ! 0.1 :1 ~·M                                                                                                                                              J]
       ~ Generally Is not a good idea to talk directly with people who arc suing you                                                                                              ro
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          Hmm

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       B                Konstantyn Bagaiev I" !?. ~:.-.
                        I asked if paper about rny share of 5% costs 25kS. He told "yes and it is true·   '::<litul;

                        Then he told me that you lie everywhere. And stealing company. I asked if I own taxes for my salary- he told he doesn't know.
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                        I didn't share any more info
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                         DavldGitman '':i'•"'.:
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                         David Gitman ':: :' ··..•
                         I have no interest in !!V!!r working with Mike again
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           ~ Konstantyn Bagalav ,.:. :
           ll72l I n!!cd a walk. We can talk with voice. Probably I'll cilll to Alcxcy and tell him that everything is OK.

           d~ Sure
                         David Gltman · · · · : : '


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